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                             UNITED STATES DISTRICT COURT

                                      DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,                         Case No. 1:22-cv-329

                         Plaintiff,                STATE OF IDAHO’S NOTICE OF
                                                   SUPPLEMENTAL AUTHORITY
 v.

 THE STATE OF IDAHO,

                         Defendant.



        The State of Idaho brings to this Court’s attention the preliminary injunction issued

Tuesday by the U.S. District Court for the Northern District of Texas in State of Texas v. Becerra,

No. 5:22-cv-00185-H (N.D. Tex. Aug. 23, 2022) (“Memorandum Opinion and Order”). A copy of

that decision is attached as Exhibit A to this filing.



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       Because the State of Idaho only learned of this decision this morning through news

sources, it has not yet had a full opportunity to consider how the Texas court’s decision should be

persuasive in aspects of this current lawsuit, or in the pending preliminary injunction motion.



DATED this 24th day of August, 2022.

                                             OFFICE OF THE ATTORNEY GENERAL


                                             By: /s/ Brian V. Church
                                                   BRIAN V. CHURCH
                                                   Deputy Attorney General




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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 24th day of August, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
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                                            Pediatrics, American Academy of Family
                                            Physicians, American Public Health
                                            Association, and American Medical
                                            Association


      AND I FURTHER CERTIFY that on such date I served the foregoing on the following
non-CM/ECF Registered Participant via email:

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                                                     /s/ Brian V. Church
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